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Judgment in a Civil Case


                            United States District Court
                        WESTERN DISTRICT OF NEW YORK



DEANNA MARLENE BELLAVIA                              JUDGMENT IN A CIVIL CASE
                                                     CASE NUMBER: 22-CV-842
      v.

ORLEANS COUNTY, et al.


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED: that Plaintiff’s Motion to Amend is Denied; that the

Orleans defendants’ Motion to Dismiss is Granted and that the Complaint is Dismissed.




Date: April 12, 2024                                 MARY C. LOEWENGUTH
                                                     CLERK OF COURT


                                                     By: s/Suzanne
                                                         Deputy Clerk
